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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA,                               No. 4:16-CR-00006-2

         v.                                                 (Chief Judge Brann)

    ANTOINE PARIS DAVIS,

                Defendant.

                               MEMORANDUM OPINION

                                      NOVEMBER 5, 2021

I.      BACKGROUND

        In 2016, Antoine Paris Davis was charged with conspiracy to distribute

controlled substances, in violation of 21 U.S.C. § 846 (Count 1), and possession with

intent to distribute controlled substances, in violation of 21 U.S.C. § 841 (a)(1)

(Count 5).1 Davis thereafter proceeded to a jury trial.

        At trial, the Government presented evidence that, beginning in or around June

14, 2014, Davis and codefendant Raheem Ruley agreed to traffic heroin and cocaine

to individuals in the Williamsport, Pennsylvania area. Davis and Ruley used cell

phones to take customer orders and then met the customers at prearranged locations

to deliver heroin and cocaine. Davis rented a residence at 321 Tinsman Avenue in

Williamsport (the “Residence”) and stayed with his girlfriend in a bedroom on the

second floor, while Ruley stayed in a different room at the Residence.2 Two safes

1
     Doc. 1.
2
     Doc. 170 at 80-81; Doc. 171 at 46, 67-69, 71; Doc. 172 at 8-11.
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were maintained at the Residence, with one being located in Davis’ room and used

by Davis, while Ruley used a safe that was located in a hallway closet; those safes

contained money, heroin, and cocaine.3

        The case against Davis arose when, on June 3, 2015, Pennsylvania State

Police (PSP) trooper Ryan Stillman was informed by Darrell Kirsch that Kirsch

could buy two “eight-balls”4 of cocaine from an individual known as “Ant”5 for

$400.6 Kirsch texted “Ant’s” cell phone to buy an eight-ball, and Ruley directed

Kirsch to a specific Taco Bell.7 When the Kirsch and an undercover PSP trooper (the

“Trooper”) arrived at the location, Ruley entered the back seat of their vehicle and

provided Kirsch with cocaine in exchange for $400 in prerecorded funds.8 Shortly

after the transaction was completed, law enforcement observed Ruley enter the

Residence, and observed Davis on the porch of that location.9

        On June 10, 2015, the Trooper contacted Ruley’s cell phone and arranged to

meet once again to buy cocaine.10 The Trooper drove to a meeting location and

picked up Ruley; Ruley then sold the Trooper two eight-balls in exchange for $400


3
     Doc. 172 at 11, 20-21, 80-81, 116-30.
4
     Kirsch testified that an eight-ball is 3.5 grams of cocaine, or one-eighth of an ounce. Doc. 171
     at 52.
5
     Witnesses identified Ant as Davis. Doc. 171 at 182; Doc. 172 at 151-52. Additionally, several
     text messages sent to Davis’ cell phone refer to Davis as “Ant” and messages from Ruley’s
     girlfriend to that cell phone asked Ant to give “Raheem” a ride and to retrieve “Raheem stuff”
     from her house. Doc. 173 at 46-47, 99-100.
6
     Doc. 170 at 40-43.
7
     Id. at 46-49.
8
     Id. at 47-48.
9
     Id. at 52-53, 57-61, 68-70.
10
     Id. at 61-63.
                                                    2
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in prerecorded funds.11 A few days later, Ruley and the Trooper exchanged text

messages—and later a phone call—wherein Ruley confirmed that he could sell the

Trooper seven eight-balls for $900.12 The Trooper picked up Ruley on June 16, 2015,

and Ruley provided the Trooper with two bags of cocaine in exchange for $900 in

pre-recorded money.13 After that transaction was completed, Ruley was arrested

following a lengthy foot chase.14

        PSP simultaneously executed a search warrant on the Residence.15 Upon

entering the Residence, Davis was found in the living room and was in possession

of a key to the Residence.16 PSP seized Ruley’s wallet from a drawer in the kitchen;

the wallet contained $380 in cash and Ruley’s Pennsylvania identification card.17 In

the same drawer as the wallet, investigators recovered plastic bags containing

cocaine base and vials of marijuana.18

        From the hallway safe PSP recovered approximately four ounces of heroin,

approximately eleven grams of cocaine, along with packaging materials and a digital

scale.19 The heroin was in a plastic container and consisted of multiple sets of blue

packets of heroin bundled with black rubber bands and a plastic bag containing



11
     Id. at 63-64.
12
     Id. at 75-78.
13
     Id. at 77-78.
14
     Doc. 171 at 60-62.
15
     Doc. 172 at 114.
16
     Doc. 170 at 79-80.
17
     Doc. 172 at 76-77, 115-16.
18
     Id.
19
     Id. at 116-30.
                                         3
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loose, unpackaged bulk heroin.20 The safe also contained common packaging

materials, including a razor blade typically used to break up drugs, a section of

drinking straw with a tapered tip commonly used to scoop heroin into small packets,

and small black rubber bands used to wrap heroin packets into bundles.21

        In Davis’ bedroom PSP located a safe that contained approximately $1,000

and a small amount of cocaine.22 In Davis’ bedroom law enforcement recovered

documents bearing Davis’ name, a metal grinder which is typically “used to grind

up marijuana,” as well as a razor blade and small black rubber bands commonly used

to wrap heroin packets into bundles.23

        Inside the residence, investigators also recovered prerecorded money used by

the Trooper to purchase cocaine from Ruley on June 10, 2015, although law

enforcement could not confirm precisely where in the Residence the currency was

found.24 Inside Ruley’s bedroom, law enforcement found two digital scales, bullets,

and papers in the name of a person identified as a former occupant of the premises.25

A PSP laboratory analysis confirmed that the substances seized during the search

consisted of approximately 95 grams of cocaine, 133 grams of heroin, and 20 grams

of marijuana.26


20
     Id. at 121-22.
21
     Id. at 120-21, 128-29.
22
     Id. at 79-80; Doc. 173 at 19-23.
23
     Doc. 172 at 79, 120-21; Doc. 173 at 19-21, 24.
24
     Id. at 34-36.
25
     Doc. 172 at 77-83.
26
     Id. at 84-86, 175-78, 186-87.
                                                 4
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        PSP also recovered several cell phones in Davis’ room, and one of those

phones contained a phone number for “Scrizz;” this phone number was the same

number that the Trooper called to purchase cocaine from Ruley.27 That cell phone

also contained numerous text message exchanges with “Scrizz’s” phone number

during the same time period as the deliveries of cocaine from Ruley to the Trooper,28

along with text messages to and from other individuals wherein Davis discussed the

availability of heroin, Percocet, marijuana, and heroin.29 In the text messages on that

phone, Davis asked his customers—including Jye Smith—for money owed for drugs

that he had “fronted” to them on credit.30

        At trial, Kirsch confirmed that he had previously purchased cocaine and

cocaine base from Ruley, and Ruley had stated that he also sold heroin.31 Jye Smith

testified that he purchased cocaine from Davis.32 Eventually, Smith accumulated a

debt of $1,800 that he owed to Davis for that cocaine.33 Jacob Daniel Kreamer

similarly testified that he purchased cocaine from Davis, and that Davis had offered

to sell Kreamer heroin.34 Kreamer eventually gave his vehicle to Davis in exchange

for cocaine35 and, in several text messages exchanged with Davis’ phone, Kreamer



27
     Id. at 79-80, Doc. 173 at 46-49.
28
     Doc. 173 at 46-49.
29
     Id. at 62-65, 73-74, 78, 88-89, 92; Doc. 174 at 22-23.
30
     Doc. 173 at 54-57, 71-75.
31
     Doc. 171 at 51-55.
32
     Id. at 182-85.
33
     Id. at 186.
34
     Doc. 172 at 155-56, 168-69.
35
     Id. at 150-53.
                                                  5
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and Davis discussed changing the registration sticker and vehicle title for that

vehicle.36

        Dana Rockwell testified that she purchased bricks37 of heroin from Davis on

three separate occasions.38 Although Rockwell typically purchased her heroin from

an individual whom she knew at “Cat,” when Cat was unavailable, he directed

Rockwell to purchase heroin from Davis.39 The heroin that Rockwell purchased from

Davis was packaged in the same manner and cost the same amount as the heroin

from Cat, although the bags were sometimes folded differently.40

        At the conclusion of the five-day jury trial, Davis was convicted of both

counts.41 The Court thereafter sentenced Davis to a total term of 144 months’

imprisonment.42 On appeal, the United States Court of Appeals for the Third Circuit

affirmed Davis’ convictions.43

        In February 2020, Davis filed a timely 28 U.S.C. § 2255 motion challenging

his convictions based on several alleged issues.44 First, Davis claims that the

Government engaged in prosecutorial misconduct when it intermingled money

seized from different parts of the Residence and purportedly asserted that it had


36
     Id. at 154; Doc. 173 at 76-77.
37
     A brick is fifty bags of heroin. Doc. 171 at 219.
38
     Id. at 218-19.
39
     Id. at 217-19.
40
     Id. at 220, 225-27.
41
     Doc. 135.
42
     Doc. 198.
43
     United States v. Davis, 728 F. App’x 165, 168 (3d Cir. 2018), cert. denied, 139 S. Ct. 1167
     (2019).
44
     Doc. 208.
                                                   6
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discovered all of the funds in Davis’ room.45 Second, and relatedly, Davis contends

that his attorney was ineffective for failing to object to the Government’s exhibits

related to the seized money, as those exhibits were tainted by the intermingled nature

of the money.46 Third, and again relatedly, Davis asserts that this Court erred in

permitting the introduction of that “false and tainted evidence” at trial, and that the

introduction of this evidence violated Davis’ due process rights.47

        Fourth, Davis contends that he received ineffective assistance of counsel due

to trial counsel’s performance before and during trial. Specifically, trial counsel

purportedly informed Davis prior to trial that his clients could not receive a fair trial

before this Court because, previously, trial counsel “and Judge Matthew Brann were

against each other . . . and trial counsel . . . won” and because the Court had no

experience in criminal matters.48 Furthermore, trial counsel failed to object to the

“tainted” currency, failed to inspect physical evidence, and refused to pursue issues

of inconsistent statements made by Government witnesses.49 During trial, counsel

further purportedly informed Davis that he would not continue to represent Davis,

and that he hoped that Davis would be convicted.50



45
     Id. at 4-5, 7-10. Davis raises substantially the same claims and arguments in both Ground One
     and Ground Three of his § 2255 motion and those claims are thus treated as a single claim for
     purposes of this Memorandum.
46
     Id. at 6-7.
47
     Id. at 11-12; Doc. 208-1 at 3.
48
     Doc. 208 at 13.
49
     Id. at 13-14.
50
     Id. at 14.
                                                    7
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         Fifth, Davis asserts that the verdict was against the weight of the evidence for

two reasons. Davis contends that the evidence did not establish the existence of a

conspiracy, as Ruley testified that: he never reached an agreement with Davis to

distribute drugs; never gave any money from the sale of drugs to Davis; and Davis

did not have access to the safe that contained the drugs that police seized from the

home.51 Davis further argues that the indictment alleged that the conspiracy

continued until January 14, 2016, but Davis was arrested on June 16, 2015.52

         Sixth, Davis alleges that the Court erred in permitting the Government to

introduce Ruley’s affidavit after it denied Davis’ request to introduce that affidavit.53

Seventh, Davis argues that this Court lacked personal and subject matter jurisdiction

over Davis, as nothing in the arrest warrant contained information demonstrating

that Davis had committed a federal crime.54 Eighth, Davis asserts that he was

arrested in violation of the Fourth Amendment’s prohibition against unreasonable

seizures, as there was no arrest warrant and no probable cause to make the arrest

since Ruley was already in custody.55

         Ninth, Davis alleges that his rights were violated when he was prohibited from

countering certain Government evidence and from playing a recorded phone




51
     Id. at 16.
52
     Id.
53
     Id. at 17.
54
     Id. at 18.
55
     Id. at 19.
                                             8
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conversation.56 Tenth, Davis alleges that there was a “tainted jury selection” which

resulted in no African Americans being impaneled on the jury.57 Eleventh, Davis

contends that the Government violated his Sixth Amendment rights by failing to

apprise him of the charges against him.58

        Twelfth, Davis argues that the Court violated the Confrontation Clause when

it denied Davis’ motion to subpoena Trooper Russell Burcher, who purportedly

made multiple false statements and misrepresentations to the grand jury in this

matter, which undermined the Indictment.59 Thirteenth, the Court allegedly erred in

relying on false statements and misrepresentations at sentencing to conclude that an

enhancement for obstruction of justice was warranted.60 Fourteenth, Davis asserts

that the Court erred in denying his motion to suppress evidence, as there was no

probable cause to search the Residence.61 Finally, Davis argues that his appellate

counsel was ineffective for failing to raise the aforementioned issues during Davis’

direct appeal.62




56
     Id. at 20. Although Davis asserts that his due process rights were violated by the failure to play
     recorded phone conversations, he alleges not that he was denied the right to play those
     conversations, but that trial counsel refused to request that they be played for the jury. The
     Court therefore construes this claim as alleging ineffective assistance of counsel, rather than a
     due process violation.
57
     Doc. 208 at 21.
58
     Id. at 22.
59
     Id. at 23-24.
60
     Id. at 25; Doc. 208-1 at 1.
61
     Id. at 2.
62
     Id.
                                                   9
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         Davis submitted a brief in support of his motion,63 and the Government has

filed a brief in opposition to the motion, arguing that Davis did not receive

ineffective assistance of counsel, and his claims are otherwise without merit.64 Davis

has filed a reply brief, and the matter is now ripe for disposition.65 For the reasons

discussed below, the Court will deny Davis’ motion.

II.      DISCUSSION

         A.      Non-Ineffective Assistance of Counsel Claims

         As an initial matter, most of the claims that Davis raises in his § 2255 motion

could have been raised in a direct appeal but were not. It is well established that

“claims not raised on direct appeal may not be raised on collateral review unless the

petitioner shows cause and prejudice.”66 The Third Circuit has concluded that, where

movants establish ineffective assistance of appellate counsel, “they have . . .

demonstrated the cause and prejudice that will excuse the procedural default that

resulted from counsel’s failure to [raise certain] challenge[s] . . . on direct appeal.”67

         Here, every claim raised—other than claims of ineffective assistance of

counsel—could have been raised in direct appeal and, consequently, may not be

considered here absent cause and prejudice. The only cause to which Davis cites for


63
      Doc. 211.
64
      Doc. 233.
65
      Doc. 241.
66
      Massaro v. United States, 538 U.S. 500, 504 (2003). See also United States v. Travillion, 759
      F.3d 281, 288 n.11 (3d Cir. 2014) (noting that “issues which should have been raised on direct
      appeal may not be raised with a § 2255 motion”).
67
      United States v. Mannino, 212 F.3d 835, 845 (3d Cir. 2000).
                                                  10
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his failure to raise these claims on appeal is his appellate counsel’s alleged

ineffectiveness. Because, as discussed below, the claim of ineffective assistance of

appellate counsel is without merit, the Court concludes that Davis’ claims, other than

those alleging ineffective assistance of counsel, are procedurally defaulted.

However, even absent Davis’ procedural default, his claims are without merit.

                1.     Claims Related to Intermingling of Money

        The Court first addresses Davis’ claims that the Government engaged in

prosecutorial misconduct when it intermingled money seized from different parts of

the Residence, that this Court erred in permitting the introduction of this “false and

tainted evidence” at trial, and that Davis’ due process rights were violated by the

introduction of that evidence at trial.68

        As Davis correctly notes, following a search of the Residence, law

enforcement seized currency from several locations within that property, but mixed

the currency together without documenting from exactly where in the home the

currency was seized.69 Former PSP trooper John Whipple testified that standard

procedure is to send currency “to the property record by denomination. So when we

search a residence, a car or an individual, it gets put on the property record as ones,

fives, tens, twenties, fifties, hundreds, whatever the denomination is, no matter


68
     Doc. 208 at 4-5, 7-12; Doc. 208-1 at 3. Davis also claims that law enforcement planted money
     and cocaine in his room. Doc. 208-1 at 3. Davis provides no evidence to support this assertion,
     and there is no evidence in the record that would remotely support his allegation. The Court
     therefore finds this claim to be without merit.
69
     Id. at 5; Doc. 173 at 35.
                                                 11
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where it was taken from.”70 Whipple acknowledged that he could not determine

“from exactly where in the house [the currency was] seized” and was certain only

that the currency did not come from Hakeem Handy’s person.71 Rather, the currency

was seized from an upstairs safe and Ruley’s wallet in the kitchen.72

        During cross-examination Whipple was asked whether the currency “was all

mixed together with all of the money in the house from the safe in Mr. Davis’s room

and from Mr. Ruley’s wallet” and Whipple confirmed that the currency was indeed

mixed together, including with currency seized from Hakeem Price. He noted that

the currency was “[s]tacked by denomination and together and I removed the

twenties, fifties and hundreds because that’s what was utilized during the controlled

purchase.”73

        Davis provides no evidence that the Government actually tampered with or

tainted physical evidence when it intermingled the funds seized from Davis’ house.

Rather, the Government and its witnesses candidly acknowledged that the currency

was mingled based upon PSP standard procedures, and that they could no longer

determine which currency was seized from Ruley’s wallet and which currency was

seized from Davis’ safe.74 There is no evidence that the Government engaged in


70
     Doc. 173 at 35.
71
     Id. at 34.
72
     Id. at 35-36.
73
     Id. at 36.
74
     Davis emphasizes that Ruley testified that he placed the money that he received from the
     controlled purchases in his wallet. Doc. 208 at 5, 9. Although Ruley testified that he “believe[d]
     [he] put all of the money that [he] received from [the undercover sales] in [his] wallet,” is was
                                                   12
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“deliberate misconduct” or that Davis was prejudiced in any way from the

intermingling of that currency.75 Consequently, the Court cannot conclude either that

the Government tampered with evidence, or that the prosecution engaged in

misconduct when it presented that evidence to the jury. Similarly, given that there

was nothing improper about the evidence presented, there is no basis to conclude

that this Court erred in permitting the Government to introduce that evidence, or that

Davis’ due process rights were violated by the introduction of that evidence. Davis’

claims related to the handling of the currency are therefore without merit.

                2.      Weight of the Evidence

        Next, Davis argues that, for two reasons, there was insufficient evidence to

support the verdict. First, he asserts that, based upon Ruley’s testimony, the evidence

did not establish the existence of a conspiracy.76 Second, he contends that the

indictment alleged that the conspiracy continued until January 14, 2016, but Davis

was arrested on June 16, 2015.77 This claim fails for two reasons.




     possible that, had he owed Davis “any money, [he] may have [given the marked bills] to
     [Davis] not knowing.” Doc. 172 at 28. Thus, not only did Ruley condition his statement that
     he placed the bills in his wallet, but he acknowledged that he may have provided some of those
     bills to Davis. Ruley’s statement is therefore of little assistance to Davis.
75
     Gov’t of Virgin Islands v. Fahie, 419 F.3d 249, 254 (3d Cir. 2005). Although it is possible that
     Davis suffered some prejudice, it is equally likely that Davis benefitted from the comingling.
     That comingling allowed Davis the opportunity to argue that that none of the marked currency
     was found in his safe, even if the Government had in fact seized some of the marked currency
     from the safe.
76
     Doc. 208 at 16.
77
     Id.
                                                    13
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        As an initial matter, it is well established that claims related to insufficiency

of the evidence are “not cognizable under section 2255.”78 Accordingly, Davis’

claim—which invites the Court to improperly “to usurp the role of the jury by

weighing credibility and assigning weight to the evidence”79—must be denied.

        Moreover, even if the Court were to consider the merits of Davis’ claim, it

would fail, as there is ample evidence that Davis participated in a conspiracy to

distribute controlled substances. This Court may find that a “jury’s verdict is

contrary to the weight of the evidence only if it believes that there is a serious danger

that a miscarriage of justice has occurred—that is, that an innocent person has been

convicted.”80 In evaluating the weight of the evidence, a court must “exercise[] its

own judgment in assessing the Government’s case.”81

        An independent evaluation of the record leads the Court to conclude that the

evidence sufficiently establishes that Davis participated in a conspiracy to distribute

controlled substances. First, Davis’ cell phone contained numerous messages

between Davis and his customers, as well as messages between Davis and Ruley

during the time that Ruley was conducting sales of controlled substances to the

Trooper.82 Second, Ruley and Davis shared a residence where various controlled


78
     United States v. Norton, 539 F.2d 1194, 1195 (8th Cir. 1976). See also United States v. Berry,
     624 F.3d 1031, 1038 (9th Cir. 2010) (holding movant’s “evidence-based” claim that “called
     into doubt the overall weight of the evidence against him” not cognizable in § 2255 motion).
79
     United States v. Wise, 515 F.3d 207, 214 (3d Cir. 2008).
80
     United States v. Johnson, 302 F.3d 139, 150 (3d Cir. 2002) (internal quotation marks omitted).
81
     Id.
82
     Doc. 173 at 46-49, 54-57, 62-65, 71-75, 78, 88-89, 92; Doc. 174 at 22-23.
                                                 14
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substances—some packaged for distribution—were found throughout the home

along with paraphernalia associated with drug trafficking, along with money that

Ruley had received from conducting controlled sales of narcotics to the Trooper.83

        Third, one individual witnessed Davis at a stash house where several women

were “bagging up heroin.”84 Fourth, on several occasions when Ruley was unable to

provide a customer with heroin, he would arrange for that customer to meet Davis

and purchase heroin from Davis.85 This establishes a direct connection between

Ruley and Davis and establishes the existence of a conspiracy between the two.

Finally, Rockwell testified that the heroin which she purchased from Davis was

packaged in the same manner and cost the same amount as the heroin that was sold

by Ruley, although the bags were sometimes folded differently.86

        Although it is true, as Davis notes, that Ruley testified that he and Davis did

not work together and instead were akin to “independent contractor[s]” who “did

[their] own thing,”87 ample evidence established that Davis participated in a drug

trafficking conspiracy, and the Court cannot conclude that the verdict was against

the weight of the evidence. Accordingly, Davis’ claim fails both as a procedural

matter and on its merits.


83
     Doc. 172 at 76-83, 115-30; Doc. 173 at 19-24, 34-36.
84
     Doc. 171 at 224. This is important because, although Davis focuses on the evidence supporting
     a conspiracy with Ruley, the Indictment charges Davis with conspiring not just with Ruley,
     but also with “other persons, known and unknown to the Grand Jury.” Doc. 1 at 2.
85
     Doc. 171 at 217-19.
86
     Id. at 220, 225-27.
87
     Doc. 172 at 41.
                                                 15
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                3.      Introduction of Affidavit

        Davis next asserts that the Court erred in permitting the Government to

introduce Ruley’s affidavit after it denied his request to introduce that affidavit.88

Prior to trial, Davis filed a motion in limine to submit an “affidavit of truth” wherein

Ruley stated that he and Davis never agreed to distribute controlled substances, and

that Davis was not involved in any drug activity.89 This Court denied that motion

after concluding that the statement was hearsay and was inherently untruthful.90

However, the affidavit became relevant to demonstrate that Davis had drafted the

document in an attempt to undermine the case against him, and was made relevant

for that purpose when Ruley admitted under oath that he and Davis had “agreed[] to

sell and deliver heroin and cocaine to drug users in Williamsport.”91 Consequently,

Davis’ claim is without merit and will be denied.

                4.      Subject Matter Jurisdiction

        Davis next contends that the Court lacked personal and subject matter

jurisdiction over Davis, as nothing in the arrest warrant contained information

demonstrating that he had committed a federal crime.92 However, the Indictment




88
     Doc. 208 at 17.
89
     Doc. 111.
90
     Doc. 116.
91
     Doc. 172 at 27; see id. at 23-30.
92
     Doc. 208 at 18.
                                            16
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clearly alleges that Davis violated federal controlled substance laws.93 Moreover, the

affidavit in support of a search warrant for the Residence—upon which Davis bases

his entire argument—provides a clear nexus between the Residence and drug

trafficking, which is a federal crime.94 Plainly then, the Court had jurisdiction over

this matter, and Davis’ claim is without merit.

                5.     Probable Cause for Search Warrant and Arrest

        Davis also asserts that he was arrested in violation of the Fourth Amendment’s

prohibition against unreasonable seizures, as there was no arrest warrant and no

probable cause to arrest him since Ruley was already in custody.95 He further

contends that the Court erred in denying his motion to suppress evidence, as there

was no probable cause to search the Residence.96 With respect to Davis’ arrest, even

ignoring the ample evidence of Davis’ drug trafficking, law enforcement discovered

cocaine in a safe in Davis’ room—a safe to which only Davis had access.97 This fact

alone provided probable cause to arrest Davis. As to the search of the Residence, in

denying Ruley’s motion to suppress evidence, the Court explained in detail that




93
     Doc. 1. The clarity of the Indictment also fatally undermines Davis’ claim that the Government
     violated his Sixth Amendment rights by failing to apprise him of the charges against him. Doc.
     208 at 22.
94
     Doc. 208-3 at 6-12.
95
     Doc. 208 at 19.
96
     208-1 at 2.
97
     Doc. 172 at 79-80; Doc. 173 at 19-23.
                                                   17
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probable cause supported the search and, for the reasons discussed in the Court’s

April 15, 2016 Memorandum Opinion, this claim is likewise without merit.98

                 6.     Claim Related to Jury Composition

         Davis next argues that there was a “tainted jury selection” which resulted in

no African Americans being impaneled on the jury.99 The law is clear “that the

American concept of the jury trial contemplates a jury drawn from a fair cross

section of the community.”100 Accordingly, while “[d]efendants are not entitled to a

jury of any particular composition,” the “venires from which juries are drawn must

not systematically exclude distinctive groups in the community and thereby fail to

be reasonably representative thereof.”101 The United States Supreme Court has held

that

         to establish a prima facie violation of the fair-cross-section
         requirement, the defendant must show (1) that the group alleged to be
         excluded is a “distinctive” group in the community; (2) that the
         representation of this group in venires from which juries are selected is
         not fair and reasonable in relation to the number of such persons in the
         community; and (3) that this underrepresentation is due to systematic
         exclusion of the group in the jury-selection process.102




98
      Doc. 56 at 9-12.
99
      Doc. 208 at 21.
100
      Taylor v. Louisiana, 419 U.S. 522, 527 (1975).
101
      Id. at 538.
102
      Duren v. Missouri, 439 U.S. 357, 364 (1979).
                                                 18
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If the defendant satisfies his burden, the Government then bears “the burden of

justifying this infringement by showing attainment of a fair cross section to be

incompatible with a significant state interest.103

         Here, Davis’ cursory argument—consisting of a single line—fails to establish

any of those three elements. Even assuming that African Americans are a distinctive

group within the Williamsport division of the Middle District of Pennsylvania, and

that their representation in the jury venire is not fair and reasonable in relation to the

number of African Americans in the community, there is no evidence that this

underrepresentation is due to systematic exclusion of African Americans in the jury-

selection process. To the contrary, the veniremen within this District are chosen

entirely at random. Consequently, this claim also fails.

                7.     Confrontation Clause Claim

         Davis next asserts that the Court violated the Confrontation Clause when it

denied Davis’ subpoena of Trooper Russell Burcher, who purportedly made multiple

false statements and misrepresentations to the grand jury in this matter and thereby

undermined the Indictment.104 During trial, Davis sought to subpoena Burcher,

arguing that testimony from Burcher might reveal “discrepancies between Mr.

Burcher’s grand jury testimony and the evidence that may be presented at trial.”105



103
      United States v. Savage, 970 F.3d 217, 254 n.31 (3d Cir. 2020) (internal quotation marks
      omitted).
104
      Doc. 208 at 23-24.
105
      Doc. 171 at 10.
                                               19
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          In addressing that motion, the Court explained that “[t]he purpose of the trial

is to ascertain Mr. Davis’s guilt or innocence as to the charged offense conduct, not

to second-guess the grand jury’s determinations.”106 The Court then concluded that

any testimony from Burcher would not be material, and would instead “amount more

to a fishing expedition than a calculated exploration of pertinent investigative

facts.”107 This Court further determined that, after reviewing Burcher’s grand jury

testimony, “the record plainly lacks any evidence of impropriety, falsified statements

or substantial inconsistencies”108 and was instead “consistent with Trooper Kelley’s

testimonial account at trial.”109 The Court therefore denied that motion.

          Davis seeks to relitigate his prior motion and the Court’s decision denying

that motion without providing any proper basis to reconsider that ruling. For the

reasons set forth in the Court’s prior ruling denying the motion to subpoena Burcher,

the Court again concludes that Davis was not entitled to a subpoena to compel

Burcher’s testimony. Because that subpoena was properly denied based on the

Federal Rules of Evidence and well-establish Supreme Court and Third Circuit

precedent, that denial did not violate Davis’ constitutional rights.




106
      Id. at 12.
107
      Id. at 14; see id. at 12-16.
108
      Id. at 14.
109
      Id. at 15.
                                             20
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                 8.      Sentencing Enhancement for Obstruction of Justice

         Davis also seeks to relitigate the Court’s decision to apply a sentencing

enhancement for obstruction of justice.110 Specifically, Davis asserts that the Court

allegedly erred in relying on false statements and misrepresentations to conclude that

such an enhancement was warranted.111 The Court considered, and rejected, any

argument that the enhancement was improper when Davis’ attorney objected to that

enhancement prior to sentencing.112

         The Court determined that Davis had obstructed justice or impeded the

administration of justice based on two key facts. First, during a recorded phone call

between Ruley and his mother while Ruley was incarcerated, Ruley made clear that

Davis had asked Ruley to take all responsibility for the drugs recovered at the

Residence.113 Although Davis contests that Ruley ever stated that it was actually

Davis who applied that pressure,114 the recording speaks for itself, and Davis points

to nothing to undermine the conclusion that the pressure placed on Ruley originated

from Davis. Second, Davis drafted, and had Ruley sign, an affidavit that attempted

to exonerate Davis for his criminal behavior—a document that Ruley later confirmed

was false.115 This evidence supported the conclusion that a sentencing enhancement


110
      Doc. 208 at 25; Doc. 208-1 at 1
111
      Doc. 208 at 25; Doc. 208-1 at 1.
112
      Doc. 197 at 4-7.
113
      Id. at 6.
114
      Doc. 208 at 25.
115
      Doc. 197 at 6. Davis takes issue with the Court’s statement that Davis introduced the affidavit
      as substantive evidence at trial. Doc. 208 at 25. This scrivener’s error—the Court should have
                                                    21
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for obstruction of justice was warranted, and Davis again points to nothing that

would warrant a different conclusion. Consequently, this claim will also be denied.

         B.      Ineffective Assistance of Counsel Claims

         Lastly, Davis raises a series of claims alleging that he received ineffective

assistance of counsel. “In Strickland v. Washington, 466 U.S. 668 (1984), the

Supreme Court established a two-part test to evaluate ineffective assistance of

counsel claims.”116 “The first part of the Strickland test requires ‘showing that

counsel made errors so serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment.’”117 In determining whether an

attorney’s performance is deficient, courts must “determine whether, in light of all

the circumstances, the [attorney’s] acts or omissions were outside the wide range of

professionally competent assistance.”118 As the United States Supreme Court has

emphasized:

         Judicial scrutiny of counsel’s performance must be highly deferential.
         It is all too tempting for a defendant to second-guess counsel’s
         assistance after conviction or adverse sentence, and it is all too easy for
         a court, examining counsel’s defense after it has proved unsuccessful,
         to conclude that a particular act or omission of counsel was
         unreasonable.119




      stated that Davis attempted to introduce the affidavit as substantive evidence at trial—has no
      bearing or impact on the Court’s prior analysis. See Doc. 111 (motion in limine seeking to
      introduce affidavit as evidence at trial).
116
      United States v. Bui, 795 F.3d 363, 366 (3d Cir. 2015).
117
      Id. (quoting Strickland, 466 U.S. at 687).
118
      Strickland, 466 U.S. at 690.
119
      Id.
                                                  22
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         “The second part [of the Strickland test] specifies that the defendant must

show that ‘there is a reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different. A reasonable

probability is a probability sufficient to undermine confidence in the outcome.’”120

“This does not require a showing that counsel’s actions more likely than not altered

the outcome, but the difference between Strickland’s prejudice standard and a more-

probable-than-not standard is slight and matters only in the rarest case. The

likelihood of a different result must be substantial, not just conceivable.”121 In other

words, a movant must establish a “a substantial likelihood” that any errors “changed

the outcome of . . . trial.”122

         Davis’ first claim of ineffective assistance of counsel—that his attorney was

ineffective for failing to object to the Government’s exhibits related to the seized

currency—may be quickly disposed of.123 As discussed previously, that evidence

was properly admitted at trial, and any objection to the introduction of that evidence

would therefore have failed. Consequently, Davis’ claim of ineffective assistance of

counsel also fails, as “there can be no Sixth Amendment deprivation of effective

counsel based on an attorney’s failure to raise a meritless argument.”124


120
      Bui, 795 F.3d at 366 (quoting Strickland, 466 U.S. at 694).
121
      Harrington v. Richter, 562 U.S. 86, 111-12 (2011) (internal quotation marks omitted).
122
      Branch v. Sweeney, 758 F.3d 226, 238 (3d Cir. 2014).
123
      Doc. 208 at 6-7.
124
      Bui, 795 F.3d at 366-67 (internal quotation marks omitted). Moreover, Davis’ attorney
      repeatedly emphasized that the Government did not know from which specific location the buy
      money was seized, argued that it was seized from Ruley, and asserted that there were
                                                  23
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         Davis next argues that he received ineffective assistance of counsel when his

attorney failed to play a recorded phone conversation that, according to Davis,

“would have exonerated” him.125 Davis, however, fails to establish either prong of

the Strickland standard. Not only does Davis fail to establish that counsel’s

performance was deficient in failing to play that recording, but he also fails to

establish that he suffered any resulting prejudice because, other than a single,

conclusory sentence that he would have been exonerated by the recording, Davis

does not explain how the phone call would have exonerated him.126 While Davis

asserts that the recording would have contradicted testimony from Ruley’s

mother,127 her testimony was relatively inconsequential and, in light of “the powerful

and uncontroverted evidence of Davis’s drug trafficking,”128 impeaching her

testimony would have had no discernable impact on the trial, meaning that Davis

suffered no prejudice from the failure to play that recording.129


      “inconsistencies in the evidence” that should give the jury pause about convicting Davis. Doc.
      174 at 134-35. The Court simply cannot conclude that counsel provided deficient advocacy on
      Davis’ behalf, particularly in light of the ample evidence of guilt that counsel was required to
      surmount to obtain a verdict of not guilty
125
      Doc. 208 at 20.
126
      Notably, Davis’ attorney contemplated playing the recorded phone call but, after cross-
      examining the Government’s witness, determined that playing the recorded call was “not
      necessary.” Doc. 171 at 179; see id. at 171-79. Counsel made a strategic decision not to play
      the recording, and Davis points to no evidence that would indicate that counsel’s decision fell
      “outside the wide range of professionally competent assistance.”. Strickland, 466 U.S. at 690.
127
      Doc. 211 at 2-3.
128
      Davis, 728 F. App’x at 168.
129
      See Sweeney, 758 F.3d at 238 (noting that a movant must establish a “a substantial likelihood”
      that any errors “changed the outcome of . . . trial”); Rolan v. Vaughn, 445 F.3d 671, 682 (3d
      Cir. 2006) (stating “in considering whether a petitioner suffered prejudice, the effect of
      counsel’s inadequate performance must be evaluated in light of the totality of the evidence at
      trial: a verdict or conclusion only weakly supported by the record is more likely to have been
                                                    24
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         Davis next asserts that he received ineffective assistance of counsel due to

counsel’s performance before and during trial. Specifically, counsel purportedly

informed Davis prior to trial that counsel’s clients could not receive a fair trial before

this Court because, in a prior proceeding, counsel “and Judge Matthew Brann were

against each other . . . and trial counsel . . . won” and because the Court had no

experience in criminal matters.130 During trial, counsel also allegedly informed

Davis that he would not continue to represent Davis, and that he hoped Davis would

be convicted.131

         These allegations are entirely without merit. First, it should go without saying

that the Court does not act with bias toward any parties who appear before it. Any

personal opinions that the undersigned may have regarding an attorney who appears

before the Court would not impact the treatment that the attorney receives and would

never impact whether the attorney’s client receives a fair hearing before this Court.

         As to Davis’ assertion that counsel stated that he hoped that Davis would be

convicted, this assertion is wholly without support, wholly incredible, and runs

contrary to counsel’s reputation before this Court as an honorable, competent, and

diligent attorney. Accordingly, Davis’ “presentation of conclusory allegations

unsupported by specifics . . . [and] contentions that in the face of the record are



      affected by errors than one with overwhelming record support” (brackets and internal quotation
      marks omitted)).
130
      Id. at 13.
131
      Id. at 14.
                                                 25
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wholly incredible” and fail to support his claim of ineffective assistance of

counsel.132 Even if counsel uttered the alleged remarks, there is no indication that

Davis suffered any resulting prejudice, or that counsel’s beliefs or private statements

to Davis impacted counsel’s performance or the trial in any way.

         Finally, Davis argues that his appellate counsel was ineffective for failing to

raise the aforementioned issues during Davis’ direct appeal.133 When considering a

claim of ineffective assistance of appellate counsel, the Supreme Court has

emphasized that “[e]ffective appellate counsel should not raise every nonfrivolous

argument on appeal, but rather only those arguments most likely to succeed.”134

“Declining to raise a claim on appeal, therefore, is not deficient performance unless

that claim was plainly stronger than those actually presented to the appellate

court.”135 Moreover, “the prejudice prong of a Strickland analysis is satisfied if there

is a reasonable probability that the result of the appeal would have been different

had counsel’s stewardship not fallen below the required standard.”136

         Considered under this standard, Davis’ claim of ineffective assistance of

appellate counsel fails. Appellate counsel on direct appeal presented the only



132
      Blackledge v. Allison, 431 U.S. 63, 74 (1977). Cf. Damiani v. Duffy, 754 F. App’x 142, 147
      (3d Cir. 2018) (noting in a different context that courts may appropriately discount
      “testimony—which was largely unsubstantiated by any other direct evidence—[that] was so
      replete with inconsistencies and improbabilities that no reasonable juror would undertake the
      suspension of disbelief necessary to credit the allegations” (internal quotation marks omitted)).
133
      Id.
134
      Davila v. Davis, 137 S. Ct. 2058, 2067 (2017).
135
      Id.
136
      Mannino, 212 F.3d at 845.
                                                    26
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arguably meritorious claims that were available.137 To so do, appellate counsel

necessarily raised “only those arguments most likely to succeed.”138 In light of the

overwhelming evidence of Davis’ guilt, those claims failed,139 and it is

understandably tempting for Davis to argue that appellate counsel should instead

have thrown every possible claim at the proverbial wall to see what may stick.

Nevertheless, this Court is mindful that efforts must be taken “to eliminate the

distorting effects of hindsight . . . and to evaluate the conduct from counsel’s

perspective at the time” of the appeal,140 and counsel’s decision to winnow the claims

presented on appeal was a reasonable one.

         Moreover, as discussed above, the claims that Davis raises here are without

merit. Because those “claim[s] [were] meritless . . . [Davis’] appellate counsel could

not have been ineffective for failing to raise” them on appeal.141 Finally, because

Davis’ claims are without merit, there is no reasonable “reasonable probability that

the result of the appeal would have been different had counsel[]” raised those issues

on appeal142 and, accordingly, Davis was not prejudiced by appellate counsel’s

failure to raise them on appeal. Consequently, this claim likewise fails.



137
      Davis, 728 F. App’x at 167.
138
      Davila, 137 S. Ct. at 2067.
139
      Davis, 728 F. App’x at 167-68.
140
      Strickland, 466 U.S. at 689.
141
      Williams v. Beard, 637 F.3d 195, 207 (3d Cir. 2011). See also Johnson v. Tennis, 549 F.3d
      296, 302 (3d Cir. 2008) (“Given the weakness of Johnson’s ineffective assistance of trial
      counsel claim, it would be difficult to consider appellate counsel unreasonably deficient for
      failing to raise it”).
142
      Mannino, 212 F.3d at 845.
                                                  27
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         C.      Certificate of Appealability

         Because this Court will deny Davis’ § 2255 motion, this decision is not

appealable unless this Court or a circuit justice issues a certificate of appealability.143

A certificate of appealability will not issue absent “a substantial showing of the

denial of a constitutional right.”144 To satisfy this standard Davis must demonstrate

that reasonable jurists would find that the Court’s assessment of the constitutional

claims is debatable or wrong.145 This Court concludes that Davis has not met this

burden, and the Court therefore declines to issue a certificate of appealability.

III.     CONCLUSION

         For the foregoing reasons, the Court concludes that Davis’ 28 U.S.C. § 2255

motion is without merit, and that motion will be denied. The Court will also deny a

certificate of appealability.

         An appropriate Order follows.


                                                      BY THE COURT:


                                                     s/ Matthew W. Brann
                                                     Matthew W. Brann
                                                     Chief United States District Judge




143
      28 U.S.C. § 2253(c)(1)(B).
144
      Id. § 2253(c)(2).
145
      Slack v. McDaniel, 529 U.S. 473, 484 (2000); see Miller-El v. Cockrell, 537 U.S. 322, 336-38
      (2003).
                                                28
